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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                    CRIMINAL 05-0235CCC
 1) OMAR MARRERO-CRUZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 2) CARLOS OLIVERAS-GONZALEZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 3) SAMUEL BRISTOL-MARTIR
 (Counts 1, 6, 7, 8, 9, 10)
 4) ALVIN FLORES-BOSQUEZ
 (Counts 1, 6, 7, and 8)
 5) FRANCISCO SANTIAGO-ALBINO
 (Counts 1, 9 and 10)
 6) JAMILL AGUILA-BARRIOS
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 Defendants
                                           ORDER
       Before the Court is a Motion to Dismiss filed by defendants Omar Marrero-Cruz, Carlos
Oliveras-González, Samuel Bristol-Mártir and Francisco Santiago-Albino on February 14, 2006
(docket entry 162), but signed only by Assistant Federal Public Defender Víctor González
who represents defendant Marrero-Cruz. The Court has reviewed the allegations of Counts
Three, Five, Eight and Ten, as well as the allegations of Count Two, Four, Six, Seven and Nine
of the Superseding Indictment to which the former counts respectively make reference to.
Essentially what defendants are raising is an erroneous statutory citation of 18 U.S.C.
§924(c)(1)(A)(i), which appears in those counts as 18 U.S.C. §924(c)(i). The language of
Counts Three, Five, Eight and Ten of the Superseding Indictment sufficiently tracks the statutory
language of §924(c)(1)(A)(i) to place defendants on notice of the elements of the offenses
charged in those counts. The Superseding Indictment gives specific information and details as
to the drug trafficking crimes charged in Counts One, Two, Four, Six, Seven and Nine,
specifying in the conspiracy count numerous overt acts regarding each of the dates and places
of the drug trafficking activity, the type of the controlled substances involved in each of the drug
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trafficking offenses, and the essential elements of the weapon offenses charged in Counts Three,
Five, Eight and Ten as well as the essential elements of the corresponding drug trafficking crimes
charged in Counts One, Two, Four, Six, Seven and Nine. The Court concludes that defendants
have been given fair notice of the charges against them and that the mistake in the statutory
citations in Counts Three, Five, Eight and Ten do not constitute grounds for dismissal of the
Superseding Indictment.
       Accordingly, for the reasons stated, defendants’ Motion to Dismiss (docket entry 162)
is DENIED.
       SO ORDERED.
       At San Juan, Puerto Rico, on February 15, 2006.




                                                    S/CARMEN CONSUELO CEREZO
                                                    United States District Judge
